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                      UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                        CASE NO. 19-CV-00448-VMC-CPT

   SECURITIES AND EXCHANGE COMMISSION,

                     Plaintiff,

   v.

   SPARTAN SECURITIES GROUP, LTD.,
   ISLAND CAPITAL MANAGEMENT LLC,
   CARL E. DILLEY,
   MICAH J. ELDRED, and
   DAVID D. LOPEZ,


                     Defendants.

   _______________________________________________/

        SECURITIES AND EXCHANGE COMMISSION’S RESPONSE IN OPPOSITION
                   TO DEFENDANTS’ MOTION TO DISMISS (DE 23)


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        I. INTRODUCTION
            Defendants Spartan Securities, Ltd. (“Spartan”), a registered broker-dealer, and Island

    Capital Management LLC d/b/a Island Stock Transfer (“Island”), a registered transfer agent, are

    commonly owned and touted their “one-stop shop” services provided in tandem to microcap

    issuers. DE 1, Complaint at ¶¶ 1-10, 13-14 (hereinafter “Compl. ¶__”). Spartan and Island

    together played critical roles in two separate microcap fraud schemes: one operated by Alvin

    Mirman (“Mirman”) and Sheldon Rose (“Rose”) (collectively “Mirman/Rose fraud”) and the

    other by Michael Daniels (“Daniels”), Andy Fan (“Fan”) and Diane Harrison (“Harrison”)

    (collectively “Daniels/Fan/Harrison fraud”).            Compl. ¶¶ 1-10, 26-35, 100-102.               All five

    individuals are the subjects of Commission enforcement actions, and Mirman and Rose were

    criminally convicted for their roles in the fraudulent schemes to manufacture collectively at least

    19 public companies for sale. Compl. ¶¶ 18-22. These 19 public companies were not operating

    businesses and did not have independent management or shareholders, rather they were

    undisclosed “blank check”1 companies controlled by Mirman, Rose, Daniels, Fan, and/or

    Harrison.     Defendants Carl Dilley (“Dilley”) and Micah Eldred 2 (“Eldred”), registered

    principals of both Spartan and Island, knew or were reckless in not knowing from the onset of

    the Mirman/Rose and Daniels/Fan/Harrison frauds, respectively. Compl. ¶¶ 1-10, 13-14, 36-50,

    103-122.

            The fraudulent schemes depended on the Defendants’ misrepresentations and

    omissions to, among others, the Commission, the Financial Industry Regulatory Authority


    1
      17 C.F.R. § 230.419 defines “blank check company” as (i) a development stage company that has no specific
    business plan or purpose or has indicated that its business plan is to engage in a merger or acquisition with an
    unidentified company or companies, or other entity or person; and (ii) is issuing penny stock.
    2
      Eldred submitted a motion to dismiss (DE 22) with arguments that significantly overlap those presented here.
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    (“FINRA”), the Depository Trust Company (“DTC”), and securities purchasers, that the 19

    public companies (hereinafter “blank check companies”) were legitimate small businesses with

    independent management and shareholders. Compl. ¶¶ 6-10, 35-39, 50-67, 77-81, 100-102. In

    reality, unbeknownst to the public, the Commission, FINRA, or DTC (but known to Eldred

    and Dilley), the management and shareholders of the blank check companies were nothing

    more than nominees for Mirman, Rose, Daniels, Fan, and/or Harrison, (the undisclosed control

    persons) who always intended to sell all the securities of the blank check companies in bulk

    for their own benefit. Compl. ¶¶ 1-10, 26-38, 43-44, 48-50, 69, 91-99. Each bulk sale realized

    proceeds of hundreds of thousands of dollars. Compl. ¶¶ 1, 35. If the truth known to Eldred

    and Dilley had been disclosed to the public, the securities would have been restricted from

    such sales and would have had little value. Compl. ¶¶ 26-44.

           Each of the Defendants played a critical role in the fraudulent schemes. Spartan filed

    and Dilley signed Form 211 applications with FINRA by which the securities became publicly

    quoted, a key component of both underlying frauds. Compl. ¶¶ 1-10, 33-35, 39, 50-65, 78-80,

    96, 100-102. Spartan and Island also prepared (with Dilley’s contribution) false applications

    with DTC by which the securities became eligible for electronic clearance, yet another important

    step in the frauds because DTC eligibility provided a means for the shares to be purchased and

    sold through broker-dealers using book entries of ownership, which is seen as a processing

    efficiency. Compl. ¶ 1-10, 29, 35, 37-39, 77, 89-90, 100, 108. Island also effectuated both the

    bulk issuance and transfer of the Mirman/Rose Company securities without restriction despite

    Dilley knowing (or recklessly not knowing) and Island employees ignoring the numerous red

    flags that the securities were in the hands of affiliates and therefore restricted. Compl. ¶¶ 38,



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    69, 82, 87, 90-91, 95-96, 99. Eldred similarly schemed with Daniels, Fan and Harrison by filing

    false Forms 211 with FINRA, signing false securities deposit forms and executing trades in

    Spartan’s proprietary account, all in support of the manufacture of the blank check companies

    – one of which Eldred expressly proposed to acquire himself while its Form 211 was pending.

    Compl. ¶¶ 1-10, 100-122. Spartan, based on Dilley and Eldred’s actions and awareness, had

    information that undermined any reasonable basis under the circumstances for believing that

    the information required by Rule 15c2-11 under the Securities Exchange Act of 1934

    (“Exchange Act”) was accurate in all material respects and from a reliable source. After the

    initial filing of the Form 211 application, Defendant David Lopez (“Lopez”), Spartan’s Chief

    Compliance Officer, was tasked to approve Spartan’s responses to FINRA for at least four

    issuers with which he made no effort even to familiarize himself. Compl. ¶¶ 52, 55, 72-80.

           The Complaint’s factual allegations include details about both fraud schemes, and the

    actions and participation of each Defendant, including the particular dates and methods of

    specific misstatements and other contributions to the fraud schemes. Therefore, the allegations

    of the Complaint satisfy the applicable pleading standards, and the Commission’s fulsome

    allegation of its causes of action requires denial of the Defendants’ Motion.

       II. ARGUMENT

       A. The Defendants Improperly Go Outside the Four Corners of the Complaint

           The Defendants attempt to inject contested facts beyond the four corners of the

    Complaint. Motion at pg. 1-6, 20-23 and footnotes 27-29, 31-32, 34. This is inappropriate at

    the pleading stage and is better suited for a motion for summary judgment, or for presentation




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    before the jury. 3 This Court has previously declined to consider such evidence in similar

    circumstances, and should likewise do so here. Witchard v. Allied Interstate, LLC, 2015 WL

    6817163, at *2 (M.D. Fla. Nov. 6, 2015) (declining to consider extrinsic matters).

        B. The Defendants Provide Improper and Unsupported Opinions and Misconstrue
           Rule 15c2-11 of the Exchange Act and their Role as a Transfer Agent

            The first six pages of the Defendants’ Motion offer unsupported opinions of what the

    Defendants claim is an overview of the Form 211, DTC process, and the role of a transfer

    agent, all of which the Court should disregard. The Defendants cite to neither the Complaint

    nor any case law authority in these six pages of argument. The Commission disputes many of

    the opinions and alleged facts. For example, Defendants misconstrue Rule 15c2-11 in alleging

    that it allows broker-dealers to initiate price quotations based simply on an issuer’s filings.

    Rather, the Rule expressly requires that broker-dealers seeking to initiate price quotations

    obtain, review, and maintain certain information about the issuer required by Rule 15c2-11(a)

    (e.g. public filings). Considering that information, plus “any other material information

    (including adverse information) regarding the issuer” in its possession, Rule 15c2-11(b)(3), the

    broker-dealer must have a reasonable basis to believe that the information required by

    subsection (a) is accurate in all material respects and its source is reliable. In other words, Rule

    15c2-11 prohibits blanket reliance on public filings. Rather, the broker-dealer must review the

    required information “in the context of all other information about the issuer in its knowledge

    or possession.” Publication or Submission of Quotations Without Specified Information,



    3
      Extrinsic evidence appended to a motion to dismiss and considered by the court when it is “central to the
    complaint” and “provided that its contents are not in dispute” (emphasis added). Harris v. Ivax Corp., 182 F.3d
    799, 802 n.2 (11th Cir. 1999). Here, the Commission disputes not only the relevance of the extrinsic evidence
    the Defendants offer, but also the accuracy.



                                                          4
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    Exch. Act Rel. No. 41110, 64 FR 11124, 11149 (Mar. 8, 1999). The broker-dealer must be

    alert to any “red flags,” for example, material inconsistencies between that information and

    other information in the broker-dealer’s knowledge or possession. Id. at 11147 – 49. If red

    flags appear at any stage of the review process, the broker-dealer “cannot” publish quotations

    unless and until those red flags are reasonably addressed. Id. at 11149. In fact, the Complaint

    specifically alleges the striking similarities in the public filings across the issuers which,

    combined with Spartan’s awareness of Mirman and Rose’s control, substantially cast doubt on

    the accuracy of the filings and should have raised red flags. See Compl. ¶ 66-67 (including

    chart). Therefore, Spartan was obligated to address red flags and other adverse information in

    its possession about the issuer before initiating price quotations.

           Regarding what the Defendants explain as the “role of a transfer agent” (Motion pg. 4-

    5) they attempt to downplay Island’s role in the fraudulent scheme by alleging that transfer

    agents do not recommend or solicit the purchase or sale of securities. Defendants provide no

    citation to support this allegation beyond the four corners of the Complaint. In fact, the

    Complaint specifically alleges the significant roles of Island in the Mirman/Rose fraud,

    including but not limited to: (1) the preparation of the necessary certified shareholder list for

    the Form 211s; (2) the issuance of stock certificates without restrictive legend; (3) the

    preparation and filing of DTC applications to make the blank check companies more valuable;

    (4) the transfer of stock certificates, again without restrictive legend. Collectively, these roles

    were critical to the scheme.

           The Defendants later allege that there is no obligation on transfer agents to impose

    restrictive legends on securities. Motion at pg. 6. However, as alleged in the Compl. ¶ 87,



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    Island constantly ignored its own policies and procedures requiring that shares without

    restrictive legend “can NOT be issued in the name of an insider” (emphasis in original), and

    its training materials that “Insiders ALWAYS have restricted stock” (emphasis in original).

    Moreover, Island argues beyond the four corners of the Complaint about issuers which have

    “represented those securities were free trading.” To the contrary, the Complaint specifically

    alleges that Island knew and otherwise ignored a host of red flags that the securities were

    restricted, yet issued certificates without restrictive legend.

        C. Standard of Review

             The Defendants move to dismiss the Complaint arguing the Commission has (1)

     failed to comply with Federal Rules of Civil Procedure 8(a) and 9(b); (2) improperly brought

     a “shotgun” pleading; and (3) failed to state a cause of action pursuant to Rule 12(b)(6).

     However, their motion engages in no discussion of the high burden they must meet to warrant

     dismissal under any of these theories.

             The Court must accept as true all facts alleged in the Complaint in the light most

     favorable to the Commission. American United Life Ins. Co. v. Martinez, 480 F.3d 1043,

     1057 (11th Cir. 2007). All reasonable inferences in the Complaint must be drawn in the

     Commission’s favor. Ventrassist Pty. Ltd. v. Heartware, Inc., 377 F. Supp. 2d 1278, 1285

     (S.D. Fla. 2005) (“the motion is not a procedure for resolving a contest between the parties

     about the facts or the substantive merit of the plaintiff’s case”) (citing Jackson v. Birmingham

     Bd. of Educ., 309 F.3d 1333, 1335 (11th Cir. 2002)). Moreover, to satisfy the liberal notice

     pleading standards of Rule 8(a), the Commission must do nothing more than set forth “a short

     and plain statement of the claim showing that the pleader is entailed to relief.” McMillian v.



                                                     6
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        AMC Mortgage Servs, Inc., 560 F. Supp. 2d 1210, 1212 (S.D. Ala. 2008). The Court’s

        inquiry at the motion to dismiss stage still focuses on whether the challenged pleadings “give

        the defendant fair notice of what the…claim is and the grounds on which it rests.” Id.,

        (quoting Erickson v. Pardus, 551 U.S. 89, 93 (2007)). 4 The Commission has satisfied this

        pleading standard.

              The Defendants further overstate the requirements for pleading fraud with particularity

    under Federal Rule of Civil Procedure 9(b). Rule 9(b) does not abrogate the concept of notice

    pleading set forth in Rule 8(a). Ziemba v. Cascade Int’l, Inc., 256 F.3d 1194, 1202 (11th Cir.

    2001); SEC v. Physicians Guardian Unit Inv. Trust, 72 F. Supp. 2d 1342, 1352 (M.D. Fla.

    1999) (denying motion to dismiss). The purpose of Rule 9(b) is to ensure allegations of fraud

    are specific enough to provide sufficient notice of the acts complained of and eliminate those

    complaints filed as a pretext for discovery of unknown wrongs. SEC v. Ginsburg, 2000 WL

    1299020, at *2 (S.D. Fla. Jan. 10, 2000). Pleading fraud with particularity does not require

    pleading “detailed evidentiary matter.” Coquina Invs. v. Rothstein, 2012 WL 4479057, at *12

    (S.D. Fla, Sept. 28, 2012). See also Ross v. A.H. Robins Co., 607 F.2d 545, 557 n.20 (2d Cir.

    1979) (reversing dismissal of a private Section 10(b) action). The complaint need only provide

    a reasonable delineation of the underlying acts and transactions constituting the fraud.

    Anderson v. Transglobe Energy Corp., 35 F. Supp. 2d 1363, 1369-70 (M.D. Fla. 1999)

    (denying motion to dismiss). A complaint pleads fraud with particularity if it alleges the

    substance of the fraudulent acts, who engaged in the fraud, and when the fraud occurred.


    4
      “The proper test is whether the complaint ‘contains either direct or inferential allegations respecting all material
    elements necessary to sustain a recovery under some viable legal theory.’” McMillian, 560 F. Supp. 2d at 1213
    (citation omitted). The threshold for withstanding a motion to dismiss based on a claim of inadequate pleading
    is “exceedingly low.” In the Matter of Southeast Banking Corp., 69 F.3d 1539, 1551 (11th Cir. 1995).



                                                              7
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    Hekker v. Ideon Grp., Inc., 1996 WL 578335, at *4 (M.D. Fla. Aug. 19, 1996) (denying motion

    to dismiss). 5 Under those standards, the Commission’s detailed Complaint, which includes

    122 paragraphs of underlying facts of who, what, when, where, and how satisfies the

    requirements for pleading fraud with particularity.

             In addition to the detailed summary of the frauds at issue, the Defendants’ respective

    roles, and other key players (Compl. ¶¶ 1-22) the Complaint clearly delineates the two shell

    factory frauds at issue here, “A. The Mirman/Rose Shell Factory (Compl. ¶¶ 26 – 99), and “B.

    The Daniels/Fan/Harrison Shell Factory” (Compl. ¶¶ 100 – 122). The Commission further

    provides five charts (Compl. ¶¶ 30, 35, 66, 72, 102) which detail: (1) the name of the relevant

    Mirman/Rose companies; (2) the name of the control person(s) for each company; (3) the date

    the Form S-1 of each company became effective; (4) the date of change of control of each

    company; and (5) the time difference between the S-1 effective date and the date of change of

    control of each company. Compl. ¶ 30.

             A few paragraphs later, the Commission alleges that Defendants Spartan and Island’s

    actions allowed Mirman and Rose to sell the companies generating at least $3.7 million in

    proceeds and details: (1) the name of each company; (2) the name of the

    Defendant/representative of Spartan who signed the Form 211 of each company; (3) the date

    Island issued the shares of each company; (4) the date FINRA cleared the Form 211 of each

    company; (5) the date of the DTC filing for each company; and (6) the date Island transferred

    the shares of each company to the buyer. Compl. ¶ 35. Equally detailed information is


    5
      See also SEC v. Homa, 2000 WL 1100783, at *3-4 (N.D. Ill. Aug. 4, 2000) (Commission “pleaded the who,
    what, when, where, and how of the fraud in sufficient detail” by setting forth the role of the various defendants in
    the offerings, how the securities were marketed to investors nationwide, the time frames of the offerings, and the
    substance of the misrepresentations).



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    provided in each of the three additional charts included in the Complaint ¶¶ 66, 72, 102.

    Accordingly, the Defendants’ argument that the Commission has failed to plead fraud with

    particularity or that it has failed to state a cause of action is meritless.

        D. The Complaint is Not a Shotgun Pleading

             The Defendants’ argument that the Commission’s Complaint is an improper “shotgun

    pleading” similarly fails.          “A shotgun complaint contains several counts, each one

    incorporating by reference the allegations of its predecessors, leading to a situation where most

    of the counts (i.e., all but the first) contain irrelevant factual allegations and legal conclusions.”

    Strategic Income Fund, LLC v. Spear, Leeds & Kellogg Corp., 305 F.3d 1293, 1295 (11th Cir.

    2002). Each count against the Defendants incorporates by reference the factual allegations in

    paragraph 1-122, but, each count subsequent to Count 1 does not incorporate the prior count.

    This is an acceptable method of pleading as confirmed by this Honorable Court. See Terry v.

    Interim Healthcare Gulf Coast, Inc., 2018 WL 1992276, at *2 (M.D. Fla. Apr. 27, 2018)

    (complaint that re-alleges just the factual allegations and does not re-allege each count, is

    different from a typical shotgun pleading). In SEC v. City of Miami, 988 F. Supp. 2d 1343,

    *1354 (S.D. Fla. 2013), the court distinguishes Wagner v. First Horizon Pharm. Corp., 464

    F.3d 1273 (11th Cir. 2006), a case cited by the Defendants, and rejected the defendants’

    shotgun pleading claim because each count incorporated only the general factual allegations. 6

    The Commission has not incorporated any of the allegations of Counts I through XIV (Compl.

    ¶¶ 123-191) in any other Count of the Complaint.


    6
     As noted by the City of Miami court, 988 F. Supp. 2d * 1355, the 11th Circuit in U.S. ex rel. Atkins v. McInteer,
    described a typical shotgun pleading as one where “Count Two incorporated Count One and adds six paragraphs.”
    470 F.3d 1350, 1354, n.6 (11th Cir. 2006).



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           Moreover, the incorporation of the 122 factual allegations in each count against the

    Defendants is wholly appropriate in view of the scope of the fraud counts and the multiple

    defendants who each played varying, yet key roles. This is not a pleading in which factual

    allegations that are clearly irrelevant to the various counts have been incorporated by reference.

    To the extent there may be instances of over-inclusion of factual allegations which have been

    incorporated by reference in particular counts, this would not be fatal to the pleading. Weiland

    v. Palm Beach County Sheriff’s Office, 792 F.3d 1313, 1325 (11th Cir. 2015).

       E. The Commission has adequately alleged the Defendants Violated Section 17(a) of
          the Securities Act and Section 10(b) of the Exchange Act
           Spartan, Island and Dilley contend that the Commission has failed to allege they

    “made” material misrepresentations or omissions and if they did, none were made to the

    investing public, therefore Count III (violations of Section 17(a)(1) of the Securities Act of

    1933 (“Securities Act”)) and Count VI (violations of Section 10(b) and Rule 10b-5(b) of the

    Exchange Act) should be dismissed. Additionally, Island contends that the Complaint does

    not identify any statement made by it, therefore Count IV (violations of Section 17(a)(3) of the

    Securities Act) should be dismissed. Motion at p. 11-16.

            1. The Commission’s Claims Under Securities Act Sections 17(a)(1) and (3) Do Not
               Require that the Defendants Be the “Maker” of a False Statement

           The Defendants incorrectly lump together their arguments related to Counts III, IV and

    VI and misapply the Supreme Court’s decision of Janus Capital Grp., Inc. v. First Derivative

    Traders, 564 U.S. 135 (2011). Janus turned on the interpretation of the word “make” in Rule

    10b-5(b) of the Exchange Act. Counts III and IV of the Commission’s Complaint seek relief

    for violations of Sections 17(a)(1) and (3) of the Securities Act, respectively. The word “make”




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    does not appear in any part of Section 17(a) of the Securities Act, therefore Janus does not

    apply to these violations. SEC v. Monterosso, 756 F.3d 1326, 1334 (11th Cir. 2014); SEC v.

    Big Apple Consulting USA, Inc., 783 F.3d 786, 795-98 (11th Cir. 2015); see also Lorenzo v.

    SEC, 139 S. Ct. 1094, 1101 (2019) (knowing dissemination of false statement made by another

    constitutes violation of Securities Act § 17(a)(1) and Exchange Act Rule 10b-5(a), (c)). Thus,

    the Defendants’ arguments that Counts III and IV of the Complaint fail because neither

    Spartan, Island, nor Dilley “made” a statement (Motion at pg. 11) should be summarily denied.

             2. Spartan, Island and Dilley made misrepresentations or omitted facts.

             While the Janus “maker” requirement does apply to Count VI (Rule 10b-5(b)), the

    Complaint sufficiently alleges false statements made by the Defendants. In their Motion, the

    Defendants gloss over the numerous allegations which set forth their misrepresentations and

    omissions to, among others, the Commission, FINRA, DTC, and securities purchasers.

    Instead, the Defendants place blame on the blank check companies. 7 Motion at pg. 11. The

    Defendants neglect to acknowledge that the Commission alleges among other things that:

    •   Island and Spartan misrepresented in connection with a DTC applications that at least two

        companies were not shells. Compl. ¶¶ 38, 108.

    •   Dilley, on behalf of Island, signed two separate letters to buyers of two of the blank check

        companies which misrepresented the restricted nature of the companies’ securities. Compl.

        ¶¶ 46-47.

    •   The Forms 211 and cover letters contained misrepresentations. Compl. ¶ 60-65.



    7
     Yet the Defendants later identify at least five statements which are “arguable attributed to Spartan or Dilley”.
    Motion at pg. 12.



                                                           11
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    •   Dilley drafted the portion of the Form 211 misrepresenting to FINRA that Mirman had no

        relationship with Spartan. Compl. ¶ 79.

    •   Spartan misrepresented to FINRA stated Spartan had no relationship with any

        “representatives” of an issuer and that “Mirman has no relationship” with the issuer.

        Compl. ¶¶ 75, 76, 80.

    •   Island submitted at least 12 DTC transfer agent attestation forms (6 signed by Dilley)

        misrepresenting that it would comply with DTC’s operational requirements, including

        exercising diligence in the related securities transactions and providing DTC with complete

        and accurate information about the securities, when Island knew or was reckless in not

        knowing that it failed to disclose material information about the restricted nature of the

        securities and performed no diligence. Compl. ¶ 89.

    •   Island routinely processed the bulk transfers by, among other things, signing and

        transmitting stock certificates without restrictive legend for securities Island knew, or was

        reckless in not knowing, were in fact restricted. Compl. ¶ 95.

    •   Regarding the Daniels/Fan/Harrison fraud, Spartan similarly filed Forms 211

        misrepresenting to FINRA the current and future business plan of the issuers, among other

        things. Compl. ¶ 106.

    •   Eldred 8, Spartan’s registered principal and representative, signed securities deposit forms

        misrepresenting that Daniels was never an “affiliate” of the issuer. Compl. ¶ 109.

    8
      While Eldred has inexplicably brought his own motion to dismiss, his role as registered principal and
    representative of Spartan and CEO of Island, make his actions relevant to the violations of Spartan and Island.
    SEC v. Morgan Keegan & Co., 678 F.3d 1233, 1249 (11th Cir. 2012) (“[C]ommon law agency principles,
    including the doctrine of respondeat superior, remain viable in actions under the Exchange Act.”) (citation and
    quotation omitted); SEC v. K.W. Brown & Co., 555 F. Supp. 2d 1275, 1305 (S.D. Fla. 2007) (“A company’s
    scienter may be imputed from that of the individuals controlling it.”).



                                                          12
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    •   Eldred signed three Forms 211 misrepresenting that each issuer was pursuing local

        business operations with no plans for mergers or changes in control, despite knowing this

        was false. Compl. ¶ 115. The Forms 211 submitted by Spartan also misrepresented how

        Spartan was solicited to file the Forms 211 and that it had no relationship with any officer

        or representative of the issuer. Compl. ¶¶ 116, 117.

    •   Eldred approved Spartan’s misrepresentation to FINRA which stated that shareholders had

        purchased their shares, while knowing that Daniels and Harrison had instead paid for all

        the shares. Compl. ¶ 122.

              3. The misrepresentations were material

             Spartan and Dilley contend that any statements attributable to them are not material.

    Motion at pg. 12. Plainly stated, Spartan and Dilley significantly downplay their roles in the

    fraudulent scheme. Materiality is a “mixed question of law and fact” because it involves the

    application of a legal standard to a particular set of facts, and accordingly, depends on the

    relevant circumstances of the case. SEC v. Scoppetoulo, 2011 WL 294443, at *2 (S.D. Fla.

    Jan. 27, 2011) (citing TSC Indus., Inc., v. Northway, Inc., 426 U.S. 438, 449-50 (1976)). It is

    inappropriate to dismiss a securities fraud complaint at the pleading stage unless a reasonable

    person cannot identify the significance of the alleged misstatement or omission. TSC Indus.,

    426 U.S. at 450. 9

             As relevant to assessing the materiality of the misrepresentations presented in this case,



    9
     See also SEC v. RPM Int’l, Inc., 282 F. Supp. 3d 1, 23 (D.D.C. 2017), “[b]ecause materiality is a mixed question
    of law and fact, courts have cautioned against granting a motion to dismiss based on the failure to plead materiality
    ‘unless [the information is] so obviously unimportant to a reasonable investor that reasonable minds could not
    differ on the question of their importance’” quoting Litwin v. Blackstone Grp., L.P., 634 F.3d 706, 717 (2d Cir.
    2011).



                                                             13
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    numerous cases hold that representations regarding a company’s management, ownership,

    business plans and control persons are material. See generally, TSC Indus., 426 U.S. at 452

    n.15 (“[T]o the extent that the existence of control was, at the time of the proxy statement’s

    issuance, a matter of doubt to those responsible for preparing the statement, we would be

    unwilling to resolve that doubt against disclosure of facts so obviously suggestive of control”);

    SEC v. Farmer, 2015 WL 5838867, at *12 (S.D. Tex. Oct. 7, 2015) (finding misstatements

    made “through the Form 211 application process” to be the basis, among other things, for

    Section 10(b) liability). 10 Such misstatements as the business purpose and control of the

    issuers were material. See Transit Rail LLC v. Marsala, 2007 WL 2089273, at *12-13

    (W.D.N.Y. July 20, 2007) (allowing Section 10(b) claim based on material omissions in Form

    211 about undisclosed control person). The Complaint contains numerous specific allegations

    of these exact types of misrepresentations and omissions. Compl. ¶¶ 27, 37, 64, 106 (business

    purpose of issuer); ¶¶ 60-61, 79-80 (express misrepresentation about Mirman and omissions

    about Mirman and Rose).

             The Defendants also argue that their misstatements are not material because the Form

    211 application process is “private.” Motion pg. 13-14. However, case law dictates that the

    fact that a statement is made in private rather than to the public does not foreclose a statement’s

    materiality. SEC v. Greenstone Holdings, Inc., 2012 WL 1038570, at *5 (S.D.N.Y. Mar. 28,

    2012). “A misstatement made in any phase of the selling transaction can be material if a



    10
       See also SEC v. Fehn, 97 F.3d 1276, 1290 (9th Cir. 1996) (material statements regarding undisclosed promoter
    and control person); SEC v. CKB168 Holdings, Ltd., 2016 WL 6915859, *14-15 (E.D.N.Y. Sept. 28, 2016)
    (finding “no doubt that [the] promoters’ false claims of [the entities’] legitimacy…were material”); Basic Inc. v.
    Levinson, 485 U.S. 224, 231 & 238 (1988) (even preliminary discussions of merger can be material since a merger
    can be the most important event that can occur in a small corporation’s life).



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    reasonable investor would have considered the defendant’s alleged misrepresentations

    important, even if the statement is not made directly to the investor.” SEC v. Czarnik, 2010

    WL 4860678, at *5 (S.D.N.Y. Nov. 29, 2010). See, e.g., Farmer, 2015 WL 5838867 at *12

    (finding misstatements made “through the Form 211 application process” to be the basis of

    Section 17(a) and 10(b) liability). 11

             The Defendants next argue that the Complaint does not allege that the representation

    in Spartan’s cover letters to FINRA -- that the issuer is not “in negotiations for any actual or

    potential merger or acquisition” -- is misleading. However, the Complaint alleges throughout

    that Spartan (through Dilley) knew based on their involvement in Mirman and Rose’s sale of

    the first blank check companies immediately upon Form 211 clearance that Mirman and Rose

    were manufacturing the blank check companies for sale in assembly-line fashion, and that the

    Form 211 was one step in that process. (Compl. ¶¶ 37, 62). Notably, the Complaint does not

    allege that this representation was false – rather, that it was misleading. It was misleading for

    Spartan to allege no knowledge of any “actual or potential merger or acquisition” when it was

    aware at the time of making the statement that Mirman and Rose were in the business of purely

    manufacturing the blank check companies for sale as public vehicles.

             4. In connection with requirement is met

             The Defendants contend that the Commission fails to meet the “in connection with”

    requirement because the false statements were not made to the investing public. This argument

    is contrary to established case law. SEC v. Radius Capital Corp., 653 Fed. App’x. 744, 750


    11
      The Commission is not required to prove that any investor actually relied on the misrepresentations or that the
    misrepresentations caused any investor to lose money. SEC v. Morgan Keegan & Co., 678 F.3d 1233, 1244 (11th
    Cir. 2012).



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    (11th Cir. 2016) (“Misrepresentations themselves need not be explicitly directed at the

    investing public or occur during the transaction to be ‘in connection with the purchase or sale

    of’ or ‘in the offer or sale of’ any security”, and rejecting argument that for liability to attach,

    the misrepresentations must be disseminated into the public arena). 12 This has been held

    specifically in the context of Form 211 misstatements to FINRA. SEC v. C. Jones & Co., 312

    F. Supp. 2d 1375, 1381-82 (D. Colo. 2004) (misstatements in Form 211 were made “in

    connection with” securities transaction by “enabling a stock to be publicly traded” and are

    “reasonably calculated to influence the investing public”). 13

             5. The Complaint adequately pleads scienter

             The Defendants seeks to dismiss Counts III and V-VII contending the Complaint (1)

    does not plead facts with particularity pursuant to Rule 9(b) or the more general standard under

    Rule 8(a) and (2) the red flags identified in the Complaint are insufficient to establish

    Defendants’ scienter. 14

             First, the Commission pleads facts that make clear the Defendants acted fraudulently

    and with scienter, but also has pled facts establishing Defendants’ severe recklessness if not

    knowing misconduct. See also Section E. 2 above. There can be no doubt that the Commission

    alleges Dilley schemed with Mirman and Rose and Eldred schemed with Daniels, Fan and



    12
       SEC v. Czarnik, 2010 WL 4860678, *4 (S.D.N.Y Nov. 29, 2010) (attorney’s misstatements “contained in
    documents disseminated only to the Issuers’ transfer agent [but] not made directly to the investing public” were
    sufficiently linked to securities trading to be actionable under Section 17(a) and Section 10(b)).
    13
       In a later opinion, the C. Jones court found against the SEC. 2009 WL 321696 (D. Colo. Feb. 10, 2009). That
    decision is distinguishable. In C. Jones, the Form 211 made misrepresentations, but the court found that a careful,
    reasonable investor had access to the misrepresentations. Here, the Forms 211 contained a number of material
    misrepresentations that were not disclosed elsewhere, including the control, purpose, business plan, and
    milestones of the issuers.
    14
       Rule 9(b) allows malice, intent, knowledge and other conditions of mind to be averred generally, and the
    Commission has sufficiently pled facts indicating the Defendants acted with scienter.



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    Harrison to defraud the public – with detailed allegations of both the source and extent of

    Dilley and Eldred’s awareness and also their specific contributions to the scheme. Compl. ¶¶

    6, 36-50, 63-64, 79, 109-115, 120-122. Further, with Dilley and Eldred’s knowing or reckless

    involvement, Spartan and Island made crucial contributions to the Mirman/Rose fraud and

    Daniels/Fan/Harrison fraud. 15

             Second, the Complaint alleges sufficient facts, including, but not limited to, those

    identified as red flags, to support that the Defendants acted with the requisite scienter. Courts

    have defined scienter as a state of mind embracing intent to deceive, manipulate or defraud.

    Ernst & Ernst v. Hochfelder, 425 U.S. 185, 193 (1976). The Eleventh Circuit has concluded

    scienter may be established by a showing of knowing misconduct or severe recklessness. SEC

    v. Carriba Air, Inc., 681 F.2d 1318, 1324 (11th Cir. 1982). 16                          Scienter involves an

    “assessment[] peculiarly within the province of the trier of fact . . . .” SEC v. Merch. Capital,

    LLC, 483 F.3d 747, 766 (11th Cir. 2007). 17 Thus, to survive a motion to dismiss, the

    Commission need only “allege[] plausible facts either directly showing or otherwise supporting

    the reasonable inference that Defendants acted with scienter.” SEC v. Mannion, 789 F. Supp.

    2d 1321, 1334 (N.D. Ga. 2011).

             The Complaint pleads facts showing the Defendants knowingly or recklessly made

    false statements and participated in the Mirman/Rose and Daniels/Fan/Harrison schemes to


    15
       “The scienter of a corporation can be imputed from that of its officers.” SEC v. Platforms Wireless International
    Corp., 559 F. Supp. 2d 1091, 1096 (S.D. Cal. 2008) (citing SEC v. Manor Nursing Centers, Inc., 458 F.2d 1082,
    1089 n.3 (2d Cir. 1972)).
    16
       Despite the Defendants’ contention, absent from the requirements of establishing scienter is any obligation of
    the Commission to allege or show the Defendants’ “motive”.
    17
       “Scienter can be established through circumstantial or direct evidence.” SEC v. Monterosso, 756 F.3d 1326,
    1335 (11th Cir. 2014).




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    defraud. Specifically, in addition to the misrepresentations identified in Section E.2 above, the

    Complaint alleges:

    •   Dilley communicated exclusively with Mirman and Rose, and knew they directed the

        finances of the blank check companies. Compl. ¶ 45. Dilley schemed with Mirman and

        Rose to create additional blank check companies of a strikingly similar nature to sell.

        Compl. ¶¶ 35, 45, 66 (chart of similarities across all Mirman/Rose companies).

    •   Related to Kids Germ, Dilley knew or was reckless in not knowing of Mirman and Rose’s

        undisclosed control of and intent to ultimately sell the blank check company. Compl. ¶¶

        37-38. Dilley emailed Rose that he knew “the route it [the issuer] is taking.” However,

        Dilley initiated the DTC application for Kids Germ misrepresenting that the company “is

        not a shell”, despite knowing or being reckless in not knowing it was a shell because of,

        among other things, its lack of assets or revenues and knowing “the route it is taking.” Id.

    •   One month later, Island transferred the Kids Germ shares from Rose’s friends and family

        in bulk without a restrictive legend stamped on the certificate to indicate that the shares are

        restricted from transfer or sale. Dilley knew or was reckless in not knowing that these

        shareholders were affiliates of Kids Germ because of Rose’s control over all their shares

        and therefore, the shares should have been restricted from transfer or sale. Compl. ¶ 38.

    •   Related to Obscene Jeans, the second blank check company at issue, the Complaint alleges

        details of various documents, emails, and events involving Dilley and his knowledge that

        Obscene Jeans was merely a blank check company being created and used with the

        intention of selling all its securities in a bulk sale. Compl. ¶¶ 39-44.

    •   Related to E-Waste and Global, by this point, Dilley had participated in at least eight prior



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       transactions with Mirman and Rose which led to the sale of those prior blank check

       companies in the same assembly line fashion. Compl. ¶ 35. Nevertheless, Dilley made

       misrepresentations in two separate letters to buyers regarding the restricted nature of the

       companies’ securities. Compl. ¶¶ 46-47.

           Defendants’ miscellaneous arguments regarding scienter all lack merit. For example,

    Defendants claim that the Complaint’s allegations regarding one of the blank check companies,

    First Independence, is “problematic”, but this argument misses the point and goes beyond the

    four corners of the Complaint by attaching a hyperlink to documents not alleged in the

    Commission’s Complaint.       The Complaint alleges that Lopez understood that FINRA’s

    questioning the “shell” status raises a red flag and warrants an investigation into whether the

    issuer is a “blank check company, that there’s an ongoing effort to further the business plan.”

    Compl. ¶ 74. Both “shell” companies and “blank check” companies have little or no assets or

    revenues – the distinction is that “blank check” companies have no business purpose other than

    to be merged or acquired while “shell” companies are pursuing a particular business plan. See

    Securities Act of 1933 Rule 419 (definition of “blank check company”) and Rule 405

    (definition of “shell company”). In other words, regardless of whether the issuer later discloses

    itself as a shell (an issue outside the four corners of the Complaint), FINRA’s preceding

    challenge triggers an investigation into the true nature and purpose of the issuer. The

    Complaint specifically alleges that Lopez made no such investigation. If Lopez had inquired

    into First Independence’s business plan, he would have soon learned that the issuer had no

    purpose other than to be sold as a public vehicle (i.e. not just a shell company, but a blank

    check company), which would have contradicted numerous other statements Spartan made to



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    FINRA about First Independence. Moreover, the Complaint details how Lopez aided and

    abetted Spartan’s violations not just in connection with First Independence, but also at least

    three other Mirman/Rose Companies. Compl. ¶¶ 72-80.

             The Defendants later argue in relation to one of the blank check companies, Obscene

    Jeans, that there are no facts alleged that the blank check companies were in fact “shells” being

    sold for their value as public companies. In doing so, the Defendants again go outside the four

    corners of the Complaint and attach hyperlinks to documents not alleged in the Complaint.

    Accordingly, this argument should be disregarded. 18 As discussed above, the Commission has

    amply pled that the Defendants acted with scienter and Counts III and V-VII should not be

    dismissed. 19

        F. The Commission’s Claims for Aiding and Abetting are Sufficiently Pled

             The Defendants contend that the Commission fails to state a claim for aiding and

    abetting in Counts II (Dilley, Eldred and Lopez aided and abetted Spartan’s violations of

    Section 15(c)(2) and Rule 15c2-11 of the Exchange Act), and Counts VIII-XIII (Spartan,

    Island, Dilley and Eldred aided and abetted Mirman and Rose, or Daniels, Fan and Harrison’s

    violations of the anti-fraud provisions of the federal securities laws). In support, they claim

    the Complaint fails to allege “recklessness” 20 or that the Defendants provided “substantial



    18
       Defendants also ignore ample allegations in the Complaint of Spartan and Dilley’s awareness that Mirman and
    Rose sold the issuers purely for their status as public vehicles. Compl. ¶¶ 5-6, 8, 10, 37-50.
    19
       To the extent there is any doubt that Commission has plead scienter as to the corporate defendants here, once
    the Commission has pled scienter as to the CEO, President, or other control person, it is clear that it has done so
    with regard to his or her corporate entity. See SEC v. China Ne. Petrol. Holdings Ltd., 27 F. Supp. 3d 379, 390
    (S.D.N.Y. 2014) (knowledge of CEO, President, and largest individual shareholder could be imputed to
    corporation).
    20
       The Defendants at ft nt. 35 misstate aiding and abetting law prior to the enactment of the Dodd Frank Act as
    requiring actual knowledge. See SEC v. Big Apple Consulting USA, Inc., 783 F.3d 786, 800-01 (11th Cir. 2015)
    (disagreeing with defendants’ argument that prior to the Dodd-Frank Act, “actual knowledge” was required.)



                                                            20
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    assistance” to Mirman and Rose. 21 To establish aiding-and-abetting liability, the Commission

    must show the Defendants knowingly or recklessly provide substantial assistance to another

    person in violation of any provision. SEC v. Goble, 682 F.3d 934, 947 (11th Cir. 2012).

            First, as discussed in Section E above, the Commission has alleged an abundance of

    facts which support that the Defendants acted at least recklessly, if not knowingly when

    participating in the Mirman/Rose frauds. Additionally, as it relates to Dilley and Lopez, who

    aided and abetted Spartan in its violations of Section 15(c)(2) and Rule 15c2-11 of the

    Exchange Act (Count II), the Complaint alleges that Spartan’s review process fell short of its

    Rule 15c2-11 obligations. Dilley and Eldred, who were familiar and remained involved with

    the issuers, signed the Form 211 but then largely ceded responsibility for the Form 211 process

    (including investigation of red flags and other deficiencies raised by FINRA) to Lopez. In

    turn, Lopez was Spartan’s Chief Compliance Officer and the principal responsible for

    effectuating its extensive written policies and procedures applicable to Form 211 applications.

    Lopez knowingly or recklessly ignored those procedures (including his own personal

    obligations thereunder) and the other requirements inherent in Rule 15c2-11, including failing

    to conduct any investigation or inquiry into red flags explicitly raised by FINRA in at least 7

    deficiency letters and other adverse information in Spartan’s possession, or even to familiarize

    himself with the issuers. As a result, Lopez was a substantial factor in Spartan’s failure to have

    a reasonable basis for believing that required information about those four Mirman/Rose




    21
       Defendants’ motion ignores that Counts VIII-XIII also allege Spartan aided and abetted Daniels, Fan, and
    Harrison. Therefore, we assume that the Defendants do not seek to dismiss those claims.



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    Companies was accurate and from a reliable source despite a host of red flags to the contrary.

    E.g., Compl. ¶¶ 66-77, 80.

           Second, Spartan, Island and Dilley substantially assisted Mirman and Rose’s fraudulent

    manufacture of the 19 undisclosed blank companies which allowed Mirman and Rose to sell

    all shares under their control without registration. Central to the fraud were the public

    quotation, DTC eligibility, and bulk transfer of the securities. Dilley (and thus Spartan and

    Island) knew, or was reckless in not knowing, that Mirman and Rose were manufacturing the

    blank check companies in routine fashion for sale as public vehicles based, in part, on his own

    personal participation in several sales of the blank check companies. Accordingly, for the

    reasons set forth above, there is no basis to dismiss these counts of the Complaint.

       G. The Commission has adequately alleged scheme liability

           Defendants seek to dismiss scheme liability claims brought by the Commission under

    Securities Act Sections 17(a)(1), (3) and Exchange Act Section 10(b) and Exchange Act Rules

    10b-5(a), (c) (Counts III-V and VII) claiming the Complaint does not sufficiently allege

    scienter and lacks specificity. Motion at 26-27. We incorporate here the allegations and

    argument made in Section C and E of this response and further reiterate that the Commission’s

    Complaint pleads allegations sufficient to show Spartan, Island and Dilley schemed with

    Mirman and Rose to defraud the public, FINRA and DTC that the blank check companies were

    operating companies with independent management and shareholders, rather than undisclosed

    blank check companies which Mirman and Rose controlled and sold.

       H. The Commission Adequately Pled a Section 5 Violation Against Spartan, Island
          and Dilley
           Section 5(a) of the Securities Act provides that, unless a registration statement is in



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    effect as to a security, it is unlawful for any person, directly or indirectly, to engage in the offer

    or sale thereof in interstate commerce. Section 5(c) similarly prohibits offers to sell, or offers

    to buy, unless a registration statement has been filed. Scienter is not an element of a Section

    5 violation. See SEC v. Calvo, 378 F.3d 1211, 1215 (11th Cir. 2004). A defendant does “not

    have to be involved in the final step of the distribution to have participated in it.” Zacharias

    v. SEC, 569 F.3d 458, 464 (D.C. Cir. 2009). 22 A person can be liable if he/she was a “necessary

    participant” and “substantial factor” in the transaction. Calvo, 378 F.3d at 1215.

             1. The existence of registration statements for the initial offerings is of no moment

             The Defendants misconstrue the registration requirements of Section 5 of the Securities

    Act. The Defendants present the completely unsupportable argument that merely because

    initial registration statements were in effect, all transactions that subsequently occur are thus

    registered for all time. Motion at pg 27. However, the registration requirements of Section 5

    apply to transactions, not to individuals or securities as a whole. The “registration of a security

    is transaction-specific.” SEC v. Cavanagh, 155 F.3d 129, 133 (2d Cir. 1998). Thus, even

    though the initial purported sales to friends and family were registered pursuant to the Forms

    S-1, any subsequent transactions would separately have to satisfy Section 5. 23 When a

    registration statement is filed, it is that specific offering of securities that is registered; the

    securities themselves are not considered registered for all times and all purposes.                         See

    Cavanagh, 155 F.3d at 133 (registration statement covering issuance to management did not

    cover reoffering of shares to other persons). If a later offering occurs, the securities sold in


    22
       SEC v. Sierra Brokerage Servs., 608 F. Supp. 2d 923, 950 (S.D. Ohio 2009) (sale of shell company by reverse
    merger “could inevitably lead to a public distribution”).
    23
       SEC v. Universal Express, Inc., 475 F. Supp. 2d 412, 422 (S.D.N.Y. 2007) (proper registration of a security at
    one stage does not necessarily suffice to register subsequent offers or sales of that security).



                                                           23
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    that offering must either be “registered, exempt, or illegal.” Thus, it is of no moment whether

    the initial offering was covered by a registration statement because the control people (with

    the assistance of Spartan, Island and Dilley) resold the securities in offerings without the

    separate registration statements for that separate transactions. Compl. ¶ 4, 6, 10, 26, 29, 35,

    38, 49, 91, 93-94, 96-99. 24

             2. Spartan, Island and Dilley’s participation

             Spartan, Island and Dilley were necessary participants and substantial factors in the

    offer or sale of purportedly unrestricted stock shortly after the bulk transfers without a valid

    registration or exemption. Spartan and Dilley prepared and filed at least 14 Forms 211 which

    were necessary for the securities to be publicly quoted. Compl. ¶ 32-35. See SEC v. Farmer,

    2015 WL 5838867, *18 (S.D. Tex. Oct. 7, 2015) (defendant who, among other things, provided

    false information in Form 211 process was a “necessary participant” liable under Section 5). 25

    Spartan, Island, and Dilley then initiated – and provided false information for – DTC

    applications by which these securities were cleared for electronic settlement. Compl. ¶ 29, 35,

    37-39, 89-90. Island and Dilley effectuated the bulk issuance and transfer of the entire float of

    purportedly unrestricted securities and promptly assisted the shell buyers in public sales.

    Compl. ¶¶ 3 – 6, 10, 29 – 35.




    24
       See also SEC v. Husain, 2017 WL 810269, at *5-6 (C.D. Cal. Mar. 1, 2017) (finding where Form S-1
    registration statement was in place, subsequent sales to shell company purchasers were not exempt from
    registration and supported the Commission’s complaint against attorney for violation of Section 5 of the Securities
    Act).
    25
       SEC v. Alternative Green Technologies, Inc., 2012 WL 4763094, *7 (S.D.N.Y. Sept. 24, 2012) (“Parties who
    misrepresent the relevant facts in order to facilitate the distributions of unregistered offerings may be liable as
    necessary participants and substantial factors for violations of Section 5 . . . .”) (alteration, quotation, and footnote
    omitted).



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           The Defendants rely heavily on the inapposite case of SEC v. CMKM Diamonds, Inc.,

    729 F.3d 1248 (9th Cir. 2013), in which the court held that the Commission was not entitled

    to summary judgment on a Section 5 claim against the defendant, finding the issue of whether

    the defendant was a substantial factor in the sales was a question for the jury. Id. at 1257-59.

    First, CMKM case is procedurally distinguishable because it addressed the Commission’s

    summary judgment motion, not the defendant’s motion to dismiss. Second, regardless of

    whether the Commission eventually will be entitled to summary judgment, the evidence will

    be more than sufficient for a jury to find that Island and Dilley were substantial participants in

    the offers or sales here in light of their specific awareness of the fraud and unlawful

    distributions. Compl. ¶¶ 45, 83, 86, 88-89, 92, 97.

           Island and Dilley’s actions went beyond arms-length stock processing given they were

    aware – and ignored red flags – that shell purchasers were acquiring securities in bulk from

    affiliates and publicly reselling those securities without satisfying all the conditions in Rule

    144 (including the minimum one-year holding period under Rule 144(i) applicable to shell

    companies) or any other possible exemption. See Wassel v. Eglowsky, 399 F. Supp. 1330,

    1367 (D. Md. 1975) (transfer agent has duty to forestall illegal distribution which it knows or

    has reason to know is occurring), aff’d on opinion below, 542 F.2d 1235 (4th Cir. 1976).

           Island failed to respond to these red flags that the sales involved securities owned by

    affiliates that could not avail themselves of an exemption from registration, and despite its own

    policies and procedures prohibiting the preparation of unlegended stock certificates for sales

    by affiliates. These events, when considered collectively, created a reasonable expectation for

    Island to be aware of the unlawful distributions. By obtaining public quotations and rubber-



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    stamping these issuances and transfer requests, despite these red flags, Spartan, Island and

    Dilley repeatedly played a significant role in the unlawful distributions of Mirman/Rose

    Company shares in violation of Section 5.

         I. Defendants’ Statute of Limitations Arguments Lack Merit

             Defendants make two arguments relating to the statute of limitations: (1) the five-year

    limitations period governing actions seeking a “fine, penalty, or forfeiture,” 28 U.S.C. § 2462,

    applies to the Commission’s claims for injunctions and penny stock bars, and (2) the Court

    should dismiss the Commission’s claims “insofar as they rely on transactions outside the

    limitations period.” As shown below, both arguments fail.

             1.       Section 2462 Does Not Apply to Injunctive Relief or Penny Stock Bars

             Defendants’ argument that § 2462 applies to injunctions and penny stock bars is

    contrary to binding precedent and would be wrong even if this Court were writing on a blank

    slate. The Eleventh Circuit has squarely held § 2462 inapplicable to the permanent injunctive

    relief the Commission is seeking. SEC v. Graham, 823 F.3d 1357, 1360-62 (11th Cir. 2016).

    Similarly, Coghlan v. NTSB, 470 F.3d 1300 (11th Cir. 2006), held that § 2462 did not apply to

    the government’s revocation of a pilot’s certificate. Id. at 1305-07. 26 Graham and Coghlan

    compel the conclusion that § 2462 is inapplicable to the permanent injunctions and penny stock

    bars sought by the Commission.

             Defendants’ argument that Graham is no longer binding in light of Kokesh v. SEC, 137

    S. Ct. 1635 (2017), is unavailing. Graham and Coghlan remain binding circuit law unless


    26
       Coghlan cited with approval Meadows v. SEC, 119 F.3d 1219, 1228 n.50 (5th Cir. 1997), characterizing
    Meadows as “determining that temporary bar from the securities industry was remedial rather than punitive where
    the ALJ made specific findings as to the respondent’s lack of fitness and the danger posed to the investing public.”
    Coghlan, 470 F.3d at 1307.



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    “clearly overruled by the Supreme Court.” Inversiones y Procesadora Tropical Inprotsa, S.A.

    v. Del Monte International GMBH, 921 F.3d 1291, 1301 (11th Cir. 2019). “To constitute an

    ‘overruling’ for the purposes of the prior panel precedent rule, the Supreme Court decision

    must be clearly on point. Moreover, the intervening Supreme Court case must actually

    abrogate or directly conflict with, as opposed to merely weaken, the holding of the prior panel.”

    Id. (emphasis by the court; citation, quotation, and alterations omitted).

            Here, Kokesh is neither clearly on point, nor does it abrogate or directly conflict with

    the holdings of Graham and Coghlan on injunctions and occupational limitations. “The sole

    question presented” in Kokesh is whether “disgorgement . . . is subject to § 2462’s limitations

    period.” 137 S. Ct. at 1642 n.3 (emphasis added). The Court did not opine on whether

    injunctions or penny stock bars are penalties within the meaning of § 2462. Thus, Kokesh does

    not overrule Graham or Coghlan, as shown by the fact that the only post-Kokesh court of

    appeals case to consider the issue held that an injunction in a Commission case was not a

    penalty – and thus not subject to the five-year limitations period – under § 2462. SEC v.

    Collyard, 861 F.3d 760, 763-65 (8th Cir. 2017). At most, the question of whether, post-

    Koskesh, injunctions and penny stock bars 27 are § 2462 “penalties” is debatable, and Kokesh

    is not a “clearly on point” decision that would constitute an “overruling” permitting this Court

    to depart from Graham and Coghlan. Moreover, even if this Court were writing on a blank

    slate, Kokesh does not impact the Supreme Court cases showing that an injunction is a

    remedial, forward looking remedy that is not a penalty:


    27
      With respect to penny stock bars, see the concurring opinions of then Judge Kavanaugh and Judge Millet
    debating whether Kokesh affected circuit law on the issue of occupational sanctions. Saad v. SEC, 873 F.3d 297,
    304, 307 (D.C. Cir. 2017).



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           The sole function of an action for injunction is to forestall future violations. It
           is so unrelated to punishment or reparations for those past that its pendency or
           decision does not prevent concurrent or later remedy for past violations by
           indictment or action for damages by those injured.

    United States v. Oregon State Medical Soc., 343 U.S. 326, 333 (1952); United States v. W.T.

    Grant Co., 345 U.S. 629, 633 (1953) (“The purpose of an injunction is to prevent future

    violations . . . .”); Hecht Co. v. Bowles, 321 U.S. 321, 329 (1944) (“The historic injunctive

    process was designed to deter, not to punish.”). Thus, before it can issue an injunction, the

    court must find a reasonable likelihood that the wrong will be repeated. SEC v. Hall, 759 F.

    App’x 877, 884 (11th Cir. 2019) (affirming district court’s imposition of injunction because

    defendant was “very likely to encounter opportunities for future violations”).

           Similarly, penny stock bars—designed to protect investors in an area “‘attractive to

    unscrupulous securities professionals’ and ‘fraught with repeat offenders.’” SEC v. E-Smart

    Techs., Inc., 139 F. Supp. 3d 170, 182 (D.D.C. 2015) (quoting H.R. Rep. 101-617 at 1422-23

    (1990))—are forward looking remedial measures imposed to prevent future misconduct.

    Compare id. (imposing bar based on finding that “future securities violations involving penny

    stock are reasonably likely”) with SEC v. Alliance Transcription Svcs., Inc., 2009 WL

    5128565, *10-11 (D. Ariz. Dec. 18, 2009) (declining to impose penny stock bars against

    defendants absent a showing that “future violations are likely”). Thus, both as a matter of

    Eleventh Circuit binding precedent and Supreme Court case law holding that injunctions are

    not designed to punish, the Court should reject Defendants’ argument that permanent

    injunctions and penny stock bars are penalties under § 2462.




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           2.      The Court Should Not Dismiss any of the Commission’s Claims

           Defendants’ other statute of limitations argument is that “the Court should dismiss [the

    Commission’s] claims insofar as they rely on transactions outside the limitations period.” It is

    unclear what Defendants are asking the Court to do at this point, and their arguments are better

    taken up in connection with motions in limine, jury instructions, and the verdict form. The

    Commission does not dispute that it can only recover a penalty and disgorgement for violations

    occurring within the limitations period (as tolled by agreement). However, with respect to the

    Commission’s claims involving a scheme to defraud, practice, or course of business, the

    Complaint appropriately alleges a single course of conduct extending over a multi-year period.

    See Sanders v. United States, 415 F.2d 621, 624-25 (5th Cir. 1969) (sales of worthless

    securities over seven years by seven defendants constituted a single securities and mail fraud

    scheme). To prove Defendants violated the law within the limitations period, the Commission

    may offer evidence of earlier conduct to show the scheme’s existence and the Defendants’

    intent. United States v. Ashdown, 509 F.2d 793, 798 (5th Cir. 1975); see also J.Y. ex rel. E.Y.

    v. Dothan City Board of Education, 2014 WL 1320187, *5 n.11 (M.D. Ala. Mar. 31, 2014)

    (collecting cases). Similarly, with respect to those counts relating to false or misleading

    statements, evidence of similar false statements made outside the limitations period would be

    admissible both as intrinsic evidence of liability with respect to the statements made within the

    period, 28 and as extrinsic evidence probative of Defendants’ intent and absence of mistake. 29

    Therefore, there is no basis to dismiss any of the Commission’s claims or any portion thereof.

           For the proposition that the Court should order a partial dismissal of the Commission’s

    claims, Defendants cite only SEC v. Radius Capital Corp., 2013 WL 3716394 (M.D. Fla. July



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    15, 2013), where the Court’s entire discussion is as follows: “Plaintiff agrees that its request

    for civil penalties are time-barred as to the mortgage-backed securities issued prior to March

    2006. Therefore, the Court will bar plaintiff from seeking civil penalties for the five mortgage-

    backed securities issued prior to March 2006.” Id. at *2. Thus, contrary to Defendants’

    assertion, Radius did not “dismiss” anything—the Court merely acknowledged the

    Commission’s concession (the same one we make here) that it could not collect a penalty for

    violations occurring before the limitations date. Therefore, there is no basis for the Court to

    dismiss any of the Commission’s claims in whole or in part.

         J. If the Court Deems the Complaint Deficient, Leave to Amend is Warranted

             As shown above, the Commission’s Complaint meets the federal pleading standards.

    If, however, the Court finds a deficiency in the Complaint, the Commission respectfully

    requests the Court grant leave to amend its pleading. At most, the motion relates to curable

    pleading deficiencies, not irreparable flaws that cannot be fixed with an amended pleading.

    See Fed. R. Civ. P. Rule 15(a) and Foman v. Davis, 371 U.S. 178, 182 (1962).

         K. Conclusion
             For all the foregoing reasons, the Commission respectfully requests that the Court deny

    the Defendants’ motion to dismiss.




    28
       United States v. Muscatell, 42 F.3d 627, 630 (11th Cir. 1995) (evidence of fraudulent transactions similar to
    those charged in the indictment “was properly admissible as intrinsic evidence of the same series of transactions
    as the charged offenses”).
    29
       United States v. Cancelliere, 69 F.3d 1116, 1124 (11th Cir. 1995) (evidence that defendant in bank fraud case
    was making the same false representations to banks not charged in indictment “was properly admitted under Rule
    404(b) as going to knowledge, intent or plan”).



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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 24, 2019, I electronically filed the foregoing

    document via the Court’s CM/ECF electronic filing system, which provides notice to all

    counsel of record.


                                                    BY: /s/Christine Nestor




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